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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

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                                                                             )
UNITED STATES OF AMERICA,                                                    )
                                                                             )
          v.                                                                 )
                                                                             )   Case No.: 1:22-CR-00369-TSC
VLADISLAV OSIPOV,                                                            )
                                                                             )
                                         Defendant.                          )
                                                                             )
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X


                                 REPLY OF VLADISLAV OSIPOV TO
                              THE GOVERNMENT’S OPPOSITION TO HIS
                               MOTION TO DISMISS THE INDICTMENT

          Mr. Osipov, a Swiss citizen residing and doing business in Switzerland, was indicted by

the United States because his company allegedly did business with an entity that was neither

alleged to be on the Department of Treasury Office of Foreign Asset Control’s (“OFAC”) list of

Specially Designated Nationals and Blocked Persons (“SDNs”) nor alleged to be 50% or more

owned by an entity or individual on the OFAC list of SDNs. Specifically, the government alleges

that Mr. Osipov’s company transacted business with an entity that owned a yacht, an asset that

also is not alleged at the time to have been on the SDN list.

          The indictment does not allege that the entity that owned the yacht was on the SDN list or

that it was owned 50% or more by an entity or individual on the SDN list. Mr. Osipov moved to

dismiss the indictment because these allegations fail to state an offense under the United States

sanctions regime. The applicable sanctions regulation, 31 CFR § 589.411 (the “Fifty Percent

Rule”), specifies that it is unlawful to transact business with an entity that is directly or indirectly

50% or more owned by an SDN, something the indictment does not allege Mr. Osipov did. The




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government argues that the indictment nonetheless states an offense because 31 C.F.R. §

589.201(b)(1) proscribes transactions “for the benefit of” an SDN. The government’s argument

fails because it reads this broad “for the benefit of” provision in a vacuum, essentially reading the

Fifty Percent Rule out of the regulation rather than reading it in conjunction with the “for the

benefit language.” When the regulation is read as a whole, as it must be, it is clear that a transaction

with an entity that is not an SDN is not considered to be a transaction for the benefit of an SDN,

unless the entity is 50% or more owned by an SDN.

        The government points to no precedent that supports its extraordinary interpretation and

cites no authority that allows the traditional rules of statutory construction to be turned on their

head. Mr. Osipov, who was entitled to rely on the more natural and common sense reading of the

regulation is now facing criminal prosecution having never been put fairly on notice that the

alleged conduct could be considered a violation of United States law.

I.      Mr. Osipov is not a fugitive, and even if the fugitive disentitlement doctrine were
        applicable, the Court should decide Mr. Osipov’s motion to dismiss a legally defective
        indictment.

        As set forth more fully in Mr. Osipov’s Motion to Dismiss and his responses to the

government’s briefings filed on July 24, 2023 (Dkt. #10) and August 5, 2023 (Dkt. #13), which

are incorporated by reference, Mr. Osipov is not a fugitive. He did not flee the jurisdiction. Mr.

Osipov has never been a resident of the United States. See United States v. Any & all Funds on

Deposit in Acct. No. XXXXX-XXXXXXXX at HSBC Bank PLC, 55 Corp. St., Coventry, United

Kingdom, 87 F. Supp. 3d 163, 168 (D.D.C. 2015) (Cooper, J.) (declining to apply the doctrine to

a Thai Native who did not reside in the United States and was not in the United States at the time

of indictment). He is a Swiss citizen who lived with his family in Switzerland where he owned and

operated a business. He was not in the United States at the time of the alleged conduct or at the




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time he learned of the indictment. See United States v. Cornelson, 595 F. Supp. 3d 265, 270-71

(S.D.N.Y. 2022) (declining to apply the doctrine to a defendant who was not in the United States

at the time of the acts alleged in the indictment and had not been in the United States for at least

three years prior).

        As previously briefed, this Court should follow the Second Circuit’s well-reasoned opinion

in United States v. Bescond, 24 F.4th 759 (2d Cir. 2021). The government is incorrect in arguing

that the cases it cites form a majority position that is contrary to the ruling in Bescond. In re

Kashamu, 769 F.3d 490 (7th Cir. 2014) was not decided based on fugitive disentitlement. United

States v. Shalhoub, 855 F.3d 1255 (11th Cir. 2017) was a prosecution for international parental

kidnapping from the United States to Saudi Arabia and fugitive status was based on the parent’s

prior residency in the United States with the child. See United States v. Shalhoub, No. 98-CR-

00460, 2016 WL 8943847, at *2 (S.D. Fla. Jan. 26, 2016); see also Indictment in United States v.

Shalhoub, No. 98-CR-00460 (S.D. Fl. Jun. 26, 1998) (Dkt. #1).

        Bescond is a recent decision and directly on point. Further, Bescond is consistent with the

previous decisions in this District. The government summarily argues that the Court should not

consider the in-district holdings in In United States v. $6,976,934.65, Plus Int. Deposited into

Royal Bank of Scotland Int’l, Acct. No. 2029-56141070, Held in Name of Soulbury Ltd., 554 F.3d

123, 132 (D.C. Cir. 2009) and Any & all Funds on Deposit in Acct. No. XXXXX-XXXXXXXX at

HSBC Bank PLC, 55 Corp. St., Coventry, United Kingdom, 87 F. Supp. 3d at 168, because those

cases arise in the context of civil asset forfeiture. However, the discussion and determination in

civil forfeiture cases of what conduct constitutes flight and fugitive status for the fugitive

disentitlement doctrine should not be disregarded in assessing the applicability of that doctrine in

criminal cases and the government cites no case contending otherwise. The courts in both cases




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considered the individual’s country of residence, the lack of actual flight from the United States,

and the individual’s purpose for remaining at home and reached decisions consistent with Bescond.

See $6,976,934.65, Plus Int. Deposited into Royal Bank of Scotland Int’l, Acct. No. 2029-

56141070, Held in Name of Soulbury Ltd., 554 F.3d at 132 (“The government has not satisfied its

burden on summary judgment to show that Scott remains outside the United States in order to

avoid the pending criminal charges.”); see also Any & all Funds on Deposit in Acct. No. XXXXX-

XXXXXXXX at HSBC Bank PLC, 55 Corp. St., Coventry, United Kingdom, 87 F. Supp. 3d at 168

(“mere refusal to reenter the country does not trigger the doctrine.”). Like the defendants in

Bescond and these in-district cases, Mr. Osipov is not present in the jurisdiction simply because

he is at home in his country of citizenship.

       In any event, the government overstates the fugitive disentitlement doctrine by arguing that

it is essentially a jurisdictional bar and that a defendant “may not” seek a ruling from a court while

being outside its jurisdiction. (Gov.’t Opp. at 6) The doctrine is not and has never been a bar to

prevent courts from considering meritorious motions. The doctrine, even if it were applicable in

this case, is a discretionary doctrine that permits courts to determine when it is appropriate to

decide motions or appeals filed by fleeing fugitives. See Bescond, 24 F.4th at 773 (“courts faced

with close questions of fugitivity may prefer to decide on a question confided to discretion”).

Deciding a defendant’s motion challenging the legality of the indictment against him would be an

appropriate exercise of the Court’s discretion.

       The government argues that the Court should decline to resolve the motion because if the

defendant loses the motion, he may not appear, characterizing the situation as “heads the defendant

wins, tails the government loses.” (Gov’t Opp. at 1) The government’s solution to this supposed

problem is to ask the Court to establish a regime in which heads the government wins, tails Mr.




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Osipov (and any other individual with no ties to the United States whom the government chooses

to indict) loses. Under the government’s approach, it can charge any individual in the world with

a legally defective indictment, in this case with conduct that is not a crime, knowing that a foreign

national will not be able to challenge the illegitimate charge unless he or she is willing to leave his

or her family and his or her business to come to the United States and, if as for Mr. Osipov, the

United States is a country to which he has no ties, he likely would be detained pending resolution

of the case.

        The government offers no valid reason why it should be excused from facing a motion that

an indictment is legally defective before an individual has to uproot his life and submit to detention.

Nor has the government offered a persuasive reason why the Court’s docket should be clogged

indefinitely with indictments whose legal sufficiency has never been established. Even if the Court

were not inclined to follow Bescond and the other in-district precedents, and were to find that the

fugitive disentitlement doctrine applies to a non-resident foreign citizen who was not in the United

States at the time of the alleged conduct or at the time he learned of the indictment, and therefore

cannot be considered to have fled the jurisdiction, the Court should nonetheless exercise its

discretion to reach the merits of Mr. Osipov’s motion to dismiss for failure to state an offense.

II.     The indictment should be dismissed for failure to state an offense or, alternatively,
        failure to give fair notice.

        All the transactions described in the indictment are by or with unblocked entities that the

indictment does not allege to be 50% or more owned by an SDN. For the purpose of this motion,

Mr. Osipov accepts as true all facts as set forth in the indictment.1



1
 The government claims Mr. Osipov asks the Court to consider facts outside the indictment
without specifying any such facts. For each of the facts, except those going to fugitive
disentitlement, Mr. Osipov provides a specific citation to where that fact is alleged in the



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       1. Both the “for the benefit of” language and the Fifty Percent Rule must be given
          effect.

       OFAC, the agency responsible for the regulatory scheme, can and does block entities and

assets that meet the sanctions criteria regardless of whether they are 50% or more owned by an

SDN. OFAC could have listed the entity with which Mr. Osipov allegedly did business and which

owned the yacht in question as an SDN. It did not. OFAC could have designated the yacht as a

blocked asset at any point prior to the transactions alleged in the indictment. It did not.2

       Even with OFAC having done neither of these things, if there was a factual basis to do so,

the government could have alleged in the indictment that the entity with which Mr. Osipov did

business was 50% or more owned by an SDN. It did not. Instead, the government chose to indict

Mr. Osipov on the basis that Mr. Osipov did business with a non-sanctioned entity not alleged to

be 50% or more owned by an SDN that owned a non-sanctioned asset. The government defends

that indictment under the theory that the asset was in some way used “for the benefit of” an SDN,

citing 31 CFR § 589.201(b)(1).

       Neither the regulation nor any associated published guidance defines or explains the phrase

“for the benefit of.” None of the cases the government identifies as quoting the “for the benefit”

language (Gov’t Opp. at 9-10) considers that phrase or analyzes it in any way. Moreover, not one

of those cases involves the application of 31 CFR § 589.411, the Fifty Percent Rule, which is the




indictment. The government, on the other hand, uses its opposition to add a new allegation stating
that Mr. Osipov was the manager of the yacht. (Gov’t Opp. at 3) The indictment states the yacht
was managed by Co-Conspirator 2, a Spanish Company. (Indictment ¶ 1)
2 In 2022, after the transactions alleged in the indictment occurred, OFAC for the first time listed

the yacht as a blocked asset. This fact is not in the indictment but is provided in footnote 3 of the
government’s opposition.


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provision of the regulatory scheme that directly and specifically addresses the transactions in this

case.

        Contrary to the government’s assertion, Mr. Osipov is not asking the Court to ignore the

undefined phrase “for the benefit of,” but rather, when, as here, the alleged transactions involve

doing business with an entity that is not designated as an SDN, to read that phrase in conjunction

with and give full effect to 31 CFR § 589.411, the Fifty Percent Rule. The Fifty Percent Rule

specifically addresses transactions with entities that OFAC has not designated as SDNs. It provides

that only entities owned 50% or more by a SDN will be considered blocked. 31 CFR § 589.411(a)-

(b).

        Mr. Osipov is not trying to read the “for the benefit of” language out of the regulation or

to render it superfluous. 31 CFR § 589.201(b)(1) applies to a variety of transactions, including

those with individuals, governments, and entities on the SDN list. Mr. Osipov simply argues that

for one specific type of transaction—those with entities not 50% or more owned by a SDN and not

on the list of SDNs—31 CFR § 589.411 must also be applied. It is the government’s approach that

would effectively read out a portion of the regulation. Given that any transaction with an entity in

which an SDN has some minority interest could be construed as being “for the benefit of” an SDN,

every transaction with a non-blocked entity less than 50% owned by an SDN would be illegal, and

the Fifty Percent Rule superfluous. The clear intent of the Fifty Percent Rule is to treat as blocked

only transactions with unblocked entities that are 50% or more owned by an SDN.3



3 The government contends that Mr. Osipov’s reading of the regulation would create a safe harbor

for transactions with unblocked entities that are not 50% or more owned by an SDN. A safe harbor
creates protection from legal liability if an individual completes certain steps or meets specific
conditions. See, e.g., Renal Physicians Ass’n v. U.S. Dep’t of Health & Hum. Servs., 489 F.3d
1267, 1270 (D.C. Cir. 2007) (describing a provision that protects physicians from legal liability if
certain conditions are met). Mr. Osipov does not contend that the sanctions regulations generally



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       There is no reason to read either the “for the benefit of” language or the Fifty Percent Rule

out of the regulation or even to view them as conflicting. Where possible, courts should interpret

laws to render a coherent and consistent scheme rather than interpret them to create conflict and

ambiguity. See, e.g., United States v. Panayiotou, No. 22-CR-55 (DLF), 2023 WL 417953, at *8

(D.D.C. Jan. 25, 2023) (rejecting the government’s reading of a provision because it would create

irreconcilable conflict with other provisions of the statute); see also Nell v. Wormuth, No. 21-CV-

3248 (APM), 2022 WL 2702334, at *4 (D.D.C. July 12, 2022) (interpreting a statute to avoid

conflict between provisions). As set forth in greater detail in Mr. Osipov’s motion, the two

provisions are not inherently in conflict with each other. It is only the government’s flawed

interpretation that makes them so. The most reasonable interpretation, and the only one consistent

with the established rules of interpretation, is to reconcile the two provisions by recognizing that

the drafters decided to allow transactions with entities that are not blocked and are not 50% or

more owned by a sanctioned person or entity. Presumably, they determined that such transactions

are not sufficiently “for the benefit of” a sanctioned person or entity that they should be prohibited.

Where there is a specific provision in a regulatory scheme, it should be read to govern broad

general language. See RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645

(2012) (the specific governs the general is most frequently applied in regulatory schemes where

“a general permission or prohibition is contradicted by a specific prohibition or permission”).




proscribe transactions with unblocked entities that are not 50% or more owned by an SDN but
allow them if certain conditions are met. Rather, he argues that any fair reading of the regulation
demonstrates that the regulation does not prohibit transactions with unblocked entities that are not
50% or more owned by an SDN. Such transactions are, therefore, not illegal. Under the
government’s view, the Department of Commerce Bureau of Industry and Security regulatory
sanctions against Cuba, Iran, North Korea, and Syria (the Export Administration Regulations)
create a safe harbor for transactions with Canada. Mr. Osipov would put it more simply: the Export
Administration Regulations do not make it illegal to do business with Canada.


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       The indictment against Mr. Osipov is defective because the charges in it describe conduct

not proscribed by the plain language of the regulation. Therefore, they do not state an offense and

should be dismissed.

   2. If the Court determines that the regulation is ambiguous then the Rule of Lenity
      requires that the ambiguity be resolved in the Mr. Osipov’s favor.

       The government seems to argue that the Rule of Lenity does not apply to IEEPA

regulations, citing several cases analyzing different sanctions regimes for different purposes,

where courts have declined to apply the Rule of Lenity. Those cases do not, of course, preclude

the Court from invoking the Rule of Lenity in relation to any tension between the “for the benefit

of” language and the Fifty Percent Rule. If the Court determines that the provisions cannot be

reconciled by traditional tools of statutory interpretation and, therefore, the regulation is

ambiguous with two plausible readings, the Rule of Lenity applies and requires that the ambiguity

be interpreted in favor of defendant. See Bittner, 598 U.S. at 101 (“Under the rule of lenity, this

Court has long held, statutes imposing penalties are to be ‘construed strictly’ against the

government and in favor of individuals.”).

   3. The Court should not accept the government’s argument that it should effectively re-
      write the regulation because, as written, it might encourage SDNs to divest from
      entities and structure ownership to avoid sanctions.

       The sanctions regime in the United Kingdom blocks transactions with entities fifty percent

owned by blocked parties, but in addition, the United Kingdom also blocks transactions with an

entity if the designated person has the right to appoint or remove the majority of the board of that

entity or has the ability “to ensure the affairs of the entity are conducted in accordance with the

person’s wishes.” See Section 4.1 of the Office of Financial Sanctions Implementation (“OFSI”)




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guidance.4 The European Union’s sanctions regime likewise blocks transactions with entities fifty

percent owned by blocked parties, and it also blocks transactions with an entity controlled by or

acting at the direction of a blocked entity. See EU Commission Consolidated FAQs No. 833/2014

at 22-24.5

       Had OFAC wanted to adopt a regime like that of the United Kingdom or the European

Union that blocked transactions with unblocked entities based on control or beneficiary status in

addition to ownership, it could have done so. OFAC instead has determined that ownership rather

than control or beneficiary status should govern the blocking of a non-designated entity. See OFAC

FAQ 398 (“OFAC’s 50 Percent Rule speaks only to ownership and not to control. An entity that

is controlled (but not owned 50 percent or more) by one or more blocked persons is not considered

automatically blocked pursuant to OFAC’s 50 Percent Rule.”).6

       Indeed, OFAC specifically considered and addressed the issues raised in the government’s

opposition to Mr. Osipov’s motion to dismiss in FAQs 401 and 402, which address complex

ownership structures and divestitures, respectively. OFAC FAQ 401 explains that “indirectly,” as

used in the Fifty Percent Rule, refers to ownership of shares of an entity through another entity

that is 50% or more owned by a blocked person. This FAQ then goes on to provide specific

examples for doing business with entities that are not 50% or more owned by an SDN:

       Blocked Person X owns 50 percent of Entity A and 25 percent of Entity B. Entities A and
       B each own 25 percent of Entity C. Entity C is not considered to be blocked. This is so


4 OFSI guidance available at: https://assets.publishing.service.gov.uk/government/upload

s/system/uploads/attachment_data/file/1144893/General_Guidance_-_UK_Financial_
Sanctions__Aug_2022_.pdf.

5
 EU guidance available at: https://finance.ec.europa.eu/system/files/2023-10/faqs-sanctions-
russia-consolidated_en_3.pdf.
6 FAQs are publicly promulgated by OFAC to provide official guidance interpreting OFAC

regulations.


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       because, even though Blocked Person X is considered to indirectly own 25 percent of
       Entity C through its 50 percent ownership of Entity A, Entity B is not 50 percent or more
       owned by Blocked Person X, and therefore Blocked Person X is not considered to
       indirectly own any of Entity C through its part ownership of Entity B. Blocked Person X's
       total ownership (direct and indirect) of Entity C therefore does not equal or exceed 50
       percent. Entity A is itself a blocked person, but its ownership of Entity C also does not
       equal or exceed 50 percent.

       See OFAC FAQ 401, available at https://ofac.treasury.gov/faqs/401.

       FAQ 402 states that if an SDN divests his ownership interest such that the entity becomes

less than 50% owned by an SDN, that entity is no longer to be considered blocked so long as

divestiture occurs outside the United States and does not involve U.S. persons. See OFAC FAQ

402, available at https://ofac.treasury.gov/faqs/402.

       When the government has issued official guidance that is at odds with the interpretation it

later seeks to apply as the basis for a criminal indictment, it “counts as one more reason yet to

question whether its current position represents the best view of the law.” Bittner, 598 U.S. at 97

(courts may consider the consistency of an agency’s views when weighing the persuasiveness of

any interpretation the government proffers in court). Here, the official guidance demonstrates that

OFAC was aware of the concerns raised by the government in its opposition to Mr. Osipov’s

motion and made a conscious choice as to how it wished to address those concerns.

       OFAC is, of course, free to change course and promulgate a new regulation. If it wishes to

proscribe transactions with unblocked entities that are less than 50% owned by an SDN or

otherwise controlled by an SDN, it is free to do so. What the government may not do is have this

Court rewrite OFAC’s regulation to read the way the government wishes it was written and then

apply the revised regulation retroactively to Mr. Osipov.




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   4. If the government’s interpretation of the regulation is adopted, then the indictment
      should be dismissed on due process grounds.

       Courts should, if possible, read statutes and regulations to avoid constitutional concerns.

See Clark v. Martinez, 543 U.S. 371, 380-81 (2005) (“when deciding which of two plausible

statutory constructions to adopt, a court must consider the necessary consequences of its choice.

If one of them would raise a multitude of constitutional problems, the other should prevail . . . .”).

Adopting the government’s approach in this case would mean that individuals who were involved

in transactions that are not prohibited by the Fifty Percent Rule, which specifically addresses when

doing business with an unblocked entity violates the sanctions regime, would not have fair notice

that their conduct was unlawful. This is yet another reason why the Court should reject the

government’s interpretation of the regulation. If the Court were to adopt the government’s

interpretation, then the indictment must be dismissed because the charges, as applied to Mr.

Osipov, would violate Due Process.

       In a motion to dismiss, a defendant may challenge a statute as unconstitutional on its face

or as applied to the conduct alleged in the indictment. To show that a statute is facially

unconstitutional, a defendant must demonstrate that it is unconstitutional in all of its applications.

In contrast, an as-applied challenge need only show that the statute is an unconstitutional exercise

of congressional power as applied to the defendant. See United States v. Naik, No. 19-CR-373

(TSC), 2020 WL 534539, at *2 (D.D.C. Feb. 2, 2020) (internal citations and quotation marks

omitted). “As-applied” challenges may be decided at the motion to dismiss phase so long as the

issue can be determined from the indictment itself. See, id. The defendant need not wait for a jury

trial to determine issues of regulatory construction.

       The cases cited by the government are general facial challenges rather than challenges to a

novel and expansive interpretation that would, if adopted, create a conflict between provisions.



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See United States v. Quinn, 401 F. Supp. 2d 80, 100 (D.D.C. 2005) (“The gravamen of defendants’

objection is that the web of statutes, executive orders, and regulations is too complex for the

average person to understand what is permitted.”); see also United States v. Amirnazmi, 645 F.3d

564, 591 (3d Cir. 2011) (“holding the IEEPA regulations are not unconstitutionally vague.’”). The

government misconstrues Mr. Osipov’s argument as a facial challenge to the “for the benefit of”

language in section 31 C.F.R. § 589.201(b)(1). Rather, Mr. Osipov brings an as-applied challenge

to the government’s contention that he should have known that it was a violation of United States

law to do business with an unblocked entity in relation to an unblocked asset where neither has

been alleged to be 50% or more owned by an SDN. None of the authority cited by the government

provides any basis to defeat that as applied challenge.

        Fair notice requires that “a reasonably prudent person, familiar with the conditions the

regulations are meant to address and the objectives the regulations are meant to achieve, would

have fair warning of what the regulations require.” Bellion Spirits, LLC v. United States, 7 F.4th

1201, 1214 (D.C. Cir. 2021). “[T]he law is settled that penal statutes are to be construed strictly,

and an individual is not to be subjected to a penalty unless the words of the statute plainly impose

it.” Bittner v. United States, 598 U.S. 85, 102 (internal quotation marks omitted). “[F]air warning

should be given to the world in language that the common world will understand, of what the law

intends to do if a certain line is passed.” Id.

        Mr. Osipov was not on fair notice that the regulation prohibited business transactions with

an unblocked entity that is not alleged to be 50% or more owned directly or indirectly by an SDN.

If the regulation is applied to Mr. Osipov based on the conduct alleged in the indictment, the

regulation would be unconstitutional as applied to him and the indictment would need to be

dismissed on that basis.




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                                         CONCLUSION

       All of the transactions alleged in the indictment are subject to the Fifty Percent Rule, which

governs a specific type of transaction under the sanctions regime: when a transaction with an entity

that is not designated as an SDN is nonetheless blocked but only if the entity is 50% or more

owned, directly or indirectly by an SDN. There is no allegation that Mr. Osipov engaged in a

transaction with such an entity. Instead of respecting the plain language of the regulation and the

official guidance published by OFAC, the government advances a novel and expansive

interpretation of the regulation by which a broad and undefined phrase, “for the benefit of,” found

in 31 C.F.R. § 589.201(b)(1), would subsume the more specific and focused language in the Fifty

Percent Rule set forth in 31 CFR § 589.411. This interpretation is not only contrary to the plain

language of the regulation, but also ignores relevant principles of statutory construction,

specifically that statutes and regulations should be read as a whole to give meaning to each

provision, to avoid creating conflict between provisions and that the specific should govern the

general, particularly in complex regulatory schemes.

       Unlike the government’s strained approach, a fair and natural reading of the regulation in

question would ignore and nullify neither the Fifty Percent Rule nor the “for the benefit of”

language and instead would give both their proper and intended effect. Pursuant to that language

and these principles, it can be seen that the authors of the regulation reasonably decided not to

block transactions with unblocked entities owned less than 50% by a sanctioned person or entity,

even if a sanctioned person may have some minority ownership or some degree of control over the

entity because such transactions are not, in the view of the agency responsible for such

determinations, sufficiently “for the benefit” of the sanctioned person that they should be




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prohibited. A contrary interpretation would result in an unconstitutional application of the

regulation to Mr. Osipov, who was not on fair notice that conducting business with an unblocked

entity not 50% or more owned, directly or indirectly, by an SDN violated United States law.

       The indictment should be dismissed for failure to state an offense. Alternatively, it should

be dismissed because the indictment constitutes an unconstitutional application of the sanctions

regime to Mr. Osipov.

Dated: November 8, 2023
       Washington D.C.


                                                    /s/
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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 8th day of November 2023, I filed the foregoing pleading
through the ECF system, which shall then send an electronic copy of this pleading to all parties
in this action.

                                                                             /s/
                                                                      Barry J. Pollack




                                               16
